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UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF PUERTO RICO
UNITED STATES OF AMERICA, CRIMINAL NO. 09-334 = ( Pe 2 & 2
3 TRE
Plaintiff, VIOLATIONS: 3
Title 21, United States Code, Sections ~
v. $46, 841(a)(1) and 841(b)(1)(A)(i) and (iitg
Title 21, United States Code, Sections 3
841(a)(1) and 841(b))(A)D); & a
[1] FERDINAND SOTO-SANTIAGO, aka || Title 18, United States Code, Section 2, «©
“Papito,” Title 21, United States Code, Sections
(Counts 1-7) 841(a)(1) and 841(b) AD; &
[2] ROBERTO RIVERA-RIVERA, aka Title 18, United States Code, Section 2.
“Tortolo,” ‘Title 21, United States Code, Sections
(Counts 1-7) 963, 952(a) and 960(a}(1)&(b)(1)(A) & (B)
[3] CARLOS BESA-GARI, aka Title 21, United States Code, Sections
“Tornillo” 952(a) and 960(a)(1)&(b)(A)(A) &
(Counts 1-7) Title 18, United States Code, Section 2.
Title 21, United States Code, Sections
Defendants. 952(a) and 960(a)(1)&(b)(1)(B) &

Title 18, United States Code, Section 2.
Title 21, United States Code, Sections
853 and 881

(SEVEN COUNTS)

INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE

Conspiracy to Possess With Intent to Distribute Controlled Substances
(Title 21, United States Code, Sections 846 and 841(a)(1), and 841(b)(1)(A}{i) and (id)

From in or about September 2009 and continuing up to on or about September 30, 2009, in

the District of Puerto Rico and elsewhere within the jurisdiction of this Court, defendants:

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[1] FERDINAND SOTO-SANTIAGO, aka “Papito,”
[2] ROBERTO RIVERA-RIVERA, aka “Tortolo,”
[3] CARLOS BESA-GARI, aka “Tornillo,”

did knowingly and intentionally combine, conspire, and agree with each other to commit an offense

against the United States, to wit: to possess with intent to distribute (1) one kilogram or more of a

mixture or substance containing a detectable amount of heroin, a Schedule I, Narcotic Drug

Controlled Substance, and five (5) kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II, Narcotic Drug Controlled Substance. All in violation

of Title 21, United States Code, Section 846 and 841{a)(1) and (b){1)(A)Q@) and (ii).

COUNT TWO

Possession With Intent to Distribute Controlled Substances
(Title 21, United States Code, Section 841 (a)(1) and (b)(1)(A)(i) &
Title 18, United States Code, Section 2)

On or about September 30, 2009, in the District of Puerto Rico and elsewhere within
the jurisdiction of this Court, defendants: -
[1] FERDINAND SOTO-SANTIAGO, aka “Papito,”
[2] ROBERTO RIVERA-RIVERA, aka “Tortolo,”
[3] CARLOS BESA-GARI, aka “Tornillo,”
aiding and abetting each other, did knowingly and intentionally possess with intent to distribute one

(1) kilogram or more of a mixture or substance containing a detectable amount of heroin, a

Schedule I, Narcotic Drug Controlled Substance. All in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1){A)G) and Title 18, United States Code, Section 2.

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COUNT THREE

Possession With Intent to Distribute Controlled Substances
(Title 21, United States Code, Section 841(a)(1) and (b)(1)(A)(Gi) &
Title 18, United States Code, Section 2)
On or about September 30, 2009, in the District of Puerto Rico and elsewhere within the
jurisdiction of this Court, defendants:
[1] FERDINAND SOTO-SANTIAGO, aka “Papito,”
[2] ROBERTO RIVERA-RIVERA, aka “Tortolo,”
[3] CARLOS BESA-GARI, aka “Tornillo,”

aiding and abetting each other, did knowingly and intentionally possess with intent to distribute five

(5) kilograms or more of a mixture or substance containing a detectable amount of cocaine, a

Schedule IT, Narcotic Drug Controlled Substance. All in violation of Title 21, United States Code,
Section 841(a}(1) and (b){1)(A)(i1) and Title 18, United States Code, Section 2.

COUNT FOUR

Conspiracy to Import a Controlled Substance
. (Title 21, United States Code, Section 963 and 952(a) and 960(a)(1)&(b)(1)(A) and (B))

From in or about September 2009 and continuing up to on or about September 30, 2009, in
the District of Puerto Rico and elsewhere within the jurisdiction of this Court, defendants:
[1] FERDINAND SOTO-SANTIAGO, aka “Papito,”
[2] ROBERTO RIVERA-RIVERA, aka “Tortolo,”
[3] CARLOS BESA-GARI, aka “Tornillo,”
did knowingly and intentionally combine, conspire, and agree with each other to commit an offense
against the United States, to wit: to import into the United States from a place outside thereof, one

(1) kilogram or more of a mixture or substance containing a detectable amount of heroin, a

Schedule I, Narcotic Drug Controlled Substance; and, five (5) kilograms or more of a mixture or

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substance containing a detectable amount of cocaine, a Schedule IJ, Narcotic Drug Controlled

Substance. All in violation of Title 21, United States Code, Section 963 and 952(a) and

960(a)(1)&(b)(1)(A) and (B).

COUNT FIVE

Importation of a Controlled Substance
(Title 21, United States Code, Section 952(a) and 960(a)(1) and (b)(1)(A))
Title 18, United States Code, Section 2)

On or about September 30, 2009, in the District of Puerto Rico and elsewhere within the
jurisdiction of this Court, defendants:
[1] FERDINAND SOTO-SANTIAGO, aka “Papito,”
[2] ROBERTO RIVERA-RIVERA, aka “Tortolo,”
[3] CARLOS BESA-GARI, aka “Tornillo,”
aiding and abetting each other, did knowingly and intentionally import into the United States from

a place outside thereof, one (1) kilogram or more of a mixture or substance containing a detectable

amount of heroin, a Schedule I, Narcotic Drug Controlled Substance. Allin violation of Title 21,

United States Code, Section 952(a) and 960(a)(1) and (b)(1 (A) and Title 18, United States Code,

Section 2.

COUNT SIX

Importation of a Controlled Substance
(Title 21, United States Code, Section 952(a) and 960(a)(1) and (b)(1)(B))
Title 18, United States Code, Section 2)

On or about September 30, 2009, in the District of Puerto Rico and elsewhere within the

jurisdiction of this Court, defendants:
ji] FERDINAND SOTO-SANTIAGO, aka “Papito,”

[2] ROBERTO RIVERA-RIVERA, aka “Tortolo,”
j3] CARLOS BESA-GARI, aka “Tornillo,”

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aiding and abetting each other, did knowingly and intentionally import into the United States from
a place outside thereof, five (5) kilograms or more of a mixture or substance containing a detectable

amount of cocaine, a Schedule II, Narcotic Drug Controlled Substance. All in violation of Title 21,

United States Code, Section 952(a) and 960(a)(1} and (b)(1)(B) and Title 18, United States Code,

Section 2.

COUNT SEVEN
Drug Forfeiture Allegation
(Title 21, United States Code, Sections 853 & 881)

Upon conviction of one or more of the offenses alleged in Counts One through Six of this
Indictment, pursuant to Title 21, United States Code, Section 853 and 881, the defendant convicted
of one or more of the offenses set forth in said counts, shall forfeit to the United States the following
property:

a. All rights, title, and interests in any and all property involved in each offense in

violation of Title 21, United States Code, Sections 846, 841{a)(1) and 841(b}(1)(A)(i) and(ii); Title»

21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)() & Title 18, United States Code,

Section 2; Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)(ii); & Title 18, United

States Code, Section 2; Title 21, United States Code, Sections 963, 952(a) and 960(a)(1)&(b)(1)(A)

& (B); Title 21, United States Code, Sections 952(a) and 960(a)(1)&(b)(1)(A) & Title 18, United

States Code, Section 2; Title 21, United States Code, Sections 952(a) and 960(a)(1)&(b)(1)(B) &

Title 18, United States Code, Section 2, for which the defendant is convicted, and all property

traceable to such property, including the following:

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(1) All monies and/or property constituting, or derived from, proceeds obtained

directly or indirectly, as a result of violations of Title 21, United States Code, Sections 846, 841(a}(1)

and 841(b)(1 (AG) andGn; Title 21, United States Code, Sections 841(a)(1) and 841(b)(1 (A)G) &

Title 18, United States Code, Section 2; Title 21, United States Code, Sections 841(a)(1) and

841(b)(t)(A)G1); & Title 18, United States Code, Section 2; Title 21, United States Code, Sections

963, 952(a) and 960(a)(1)&(b)(1 (A) & (B); Title 21, United States Code, Sections 952(a) and

960(a)(1)&(b\I)(A) & Title 18, United States Code, Section 2; Title 21, United States Code,

Sections 952(a) and 960(a)(1)&(b)(1)(B) & Title 18, United States Code, Section 2.

(2) Money Judgement against the defendant for a sum of money equal to at least
seven point eight ($7,800,000.00) million in U.S, Currency, representing the amount of proceeds
obtained as a result of the offense.

(3) All property used in any manner, or part, to commit or to facilitate the
commission of those violations.

(4) A vessel described as a wooden made, red in color, with one outboard engine,
center console with no compartments and bearing registration number PR 3165 FF.

b. If any of the above-described forfeitable property, as a result of any act or omission
of the defendant: cannot be located upon the exercise of due diligence; has been transferred or sold
to, or deposited with, a third party; has been placed beyond the jurisdiction of the court; has been
substantially diminished in value; or has been commingled with other property which cannot be
divided without difficulty it is the intent of the United States, pursuant to Title 21, United States
Code, Section 853({p), to seek forfeiture of any other property of such defendants up to the value of

the forfeitable property described in this forfeiture allegation.

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Allin accordance with Title 21 United States Code, Section 853, 881 and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

ROSA EMILIA RODRIGUEZ-VELEZ TRUE BILL
United States Attorney

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~JOSE)A. RUIZ SANTIAGO
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Acting Chief, Narcotics Unit

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Nssistant United States Attorney

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